     Case 2:15-md-02641-DGC Document 9533-1 Filed 01/05/18 Page 1 of 5



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 6
     Attorneys for Plaintiffs
 7

 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                                    FOR THE DISTRICT OF ARIZONA
10

11    IN RE BARD IVC FILTERS                 )              No. MD-15-02641-DGC
      PRODUCTS LIABILITY LITIGATION          )
12
                                             )              AMENDED SECOND AMENDED
13                                           )              MASTER      SHORT     FORM
                                             )              COMPLAINT FOR DAMAGES FOR
14                                           )              INDIVIDUAL    CLAIMS   AND
      ______________________________________ )              DEMAND FOR JURY TRIAL
15

16          Plaintiff(s) named below, for their Complaint against Defendants named below,
17
     incorporate the Master Complaint for Damages in MDL 2641 by reference (Doc. 364).
18
     Plaintiff(s) further show the Court as follows:
19
            1.      Plaintiff/Deceased Party:
20
                    Diana Moss________________________________________________
21

22          2.      Spousal Plaintiff/Deceased Party’s spouse or other party making loss of

23                  consortium claim:

24                  _________________________________________________________

25          3.      Other Plaintiff and capacity (i.e., administrator, executor, guardian,
26
                    conservator):
27
                    ____________________________ ____________________________
28
     Case 2:15-md-02641-DGC Document 9533-1 Filed 01/05/18 Page 2 of 5



 1         4.    Plaintiff’s/Deceased Party’s state(s) [if more than one Plaintiff] of residence at
 2               the time of implant:
 3
                 New York________________________________________________________
 4
           5.    Plaintiff’s/Deceased Party’s state(s) [if more than one Plaintiff] of residence at
 5
                 the time of injury:
 6
                 New York________________________________________________________
 7

 8         6.    Plaintiff’s current state(s) [if more than one Plaintiff] of residence:

 9               New York _______________________________________________________

10         7.    District Court and Division in which venue would be proper absent direct filing:

11               U.S. District Court for the Northern District of New York___________________
12
           8.    Defendants (check Defendants against whom Complaint is made):
13
                        C.R. Bard Inc.
14
                        Bard Peripheral Vascular, Inc.
15
           9.    Basis of Jurisdiction:
16
                        Diversity of Citizenship
17

18                      Other: ____________________________________________________

19               a.     Other allegations of jurisdiction and venue not expressed in Master

20                      Complaint:
21               _________________________________________________________________
22
                 _________________________________________________________________
23
           10.   Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a
24
                 claim (Check applicable Inferior Vena Cava Filter(s)):
25

26                      Recovery   ® Vena Cava Filter
27                      G2  ® Vena Cava Filter
28
     Case 2:15-md-02641-DGC Document 9533-1 Filed 01/05/18 Page 3 of 5




                           ® Express Vena Cava Filter
 1
                        G2
 2
                        G2® X Vena Cava Filter
 3
                        Eclipse® Vena Cava Filter
 4
                        Meridian® Vena Cava Filter
 5

 6                      Denali® Vena Cava Filter

 7                      Other: _____________________________________________________
 8         11.   Date of Implementation as to each product:
 9
                 3/16/2007________________________________________________________
10
                 _________________________________________________________________
11
           12.   Counts in the Master Complaint brought by Plaintiff(s):
12
                        Count I:       Strict Products Liability – Manufacturing Defect
13

14                      Count II:      Strict Products Liability – Information Defect (Failure to

15                      Warn)

16                      Count III:     Strict Products Liability – Design Defect
17                      Count IV:      Negligence – Design
18
                        Count V:       Negligence – Manufacture
19
                        Count VI:      Negligence – Failure to Recall/Retrofit
20
                        Count VII:     Negligence – Failure to Warn
21
                        Count VIII:    Negligent Misrepresentation
22
                        Count IX:      Negligence Per Se
23

24                      Count X:       Breach of Express Warranty

25                      Count XI:      Breach of Implied Warranty

26                      Count XII:     Fraudulent Misrepresentation
27                      Count XIII:    Fraudulent Concealment
28
     Case 2:15-md-02641-DGC Document 9533-1 Filed 01/05/18 Page 4 of 5



 1                      Count XIV:      Violations of Applicable New York Law Prohibiting
 2                                      Consumer Fraud and Unfair and Deceptive Trade Practices
 3
                        Count XV:       Loss of Consortium
 4
                        Count XVI:      Wrongful Death
 5
                        Count XVII: Survival
 6
                        Punitive Damages
 7

 8                      Other(s): _____________________ (please state the facts supporting

 9                      this Count in the space immediately below)

10                      ___________________________________________________________

11                      ___________________________________________________________
12
                        ___________________________________________________________
13
                        ___________________________________________________________
14
           13.   Jury Trial demanded for all issues so triable?
15
                        Yes
16
                        No
17

18

19         RESPECTFULLY SUBMITTED this 4-5th day of January, 2018.

20                                             BARON & BUDD, P.C.
21                                             By:     /s//Matthew Haynie_____________
22                                                     Matthew Haynie
                                                       Laura Baughman
23                                                     3102 Oak Lawn Avenue, Suite 1100
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26

27                                                     Attorneys for Plaintiffs

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     Case 2:15-md-02641-DGC Document 9533-1 Filed 01/05/18 Page 5 of 5



 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on this 4-5th day of January, 2018, I electronically transmitted the
 3
     attached document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4
     Notice of Electronic Filing.
 5
                                                           /s/ Matthew Haynie_____________
 6                                                         Matthew Haynie
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